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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:11CR71
                              )
          v.                  )
                              )
ALBERTO VILLALBA-LOPEZ and    )                  ORDER
JAIRO ALVARADO-REFUGIO,       )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on plaintiff’s motion

to seal (Filing No. 98).     The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion to seal is

granted; the government’s motion regarding these defendants shall

remain sealed pending further order of the Court.

           DATED this 21st day of December, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
